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tN THE UNITED STATES DISTRICT c_oURT J 'N
FOR THE NoRTHERN DISTRICT or ILLINoIS ' NUV X 1 2007
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JoNATHAN BANKS, a minor, ) CLERK. U.S- DISTRIGT count
by SHONNETTA BANKS, his mother )
and next fi'iend, )
) F/
Praimirr, )
)
VS' ) otcvei 79
. . ) JoocE coAR
CITY OF CHICAGO, a municipal ) MAG` JUDGE ASHMAN
Corporatiorr, Department of Police and ) `
Police officer ALDNZO COTHRAN, ) .____\ __ __ _ __
Star # 2721, )
)
Defendents. )
§()TICE DF FILLEQ

TO: R.ichard J. Grossman, Esq.
Steinberg, Burtker & Grossman, Ltd.
55 E. Monroe St., Suite 2920
Chicago, IL 60603

PLEASE TAKE NOTICE that I have filed this day with the Clerk of the above Court a
HQTICE OF REMDVAI__._, a copy of which is attached hereto and herewith served upon you.

DATED at Chicago, Illinois this Novernber 1, 2007.

Rcspectti.llly oubmitted,

' Mghew R. Hader §

Assistant Corporation Courisel
30 N. La Salle St., Soite 1400
Chicago, IL 60602
(312) 742-9586
Atty. No. 06284330

 

 

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IN TI-IE UNITED STATES DISTRICT COURT .J N FILED

FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION NA£)UJ X 1 ZUU?
MlCHAEl W' °?0
JDNATHAN BANKS, a minor, ) ('.‘,1,[-_'RKl U,S. D|S-TDOEB!NS
by sHoNNaTta BANKs, his maher ) R‘CT doom
and next friend, )
)
Plaintif`f', )
)
v. )
) otcvs'l 79
CITY OF CHICAGO, a municipal ) JU[)GE COAR
corporation, Department of Police, and ) MAG_ JUDGE ASHNIAN
Police Officer ALONZO COTHRAN, ) _______
star # 2721, ) »_._____»-__'__
)
Defendants. )

l E OF REMOVAL

Defendant Police Officer Alonno Cothran, by his attorney, Matthew R. Hader, Assistant
Corporation Counsel of the City of Chicago, respectfully remove the above entitled action to this
Court, pursuant to 28 U.S.C. §l441(a), (b) and (c], §1446, and on the following grounds:

l. Defendants Alonzo Cothran and the City of Chicago Were named as defendants in a
civil action filed on July lS, 2006, and the Amended Cornplaint filed October 11, 2007, in the

Circuit Court of Cook County of the State of Illinois, case number 06 L 7505, entitled J_Qnath_a_n

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Cogporatign, Q§pmn_ient of P’olicel and Rgl],`§e officer Alonzo Cg_t@;ag, §Iaf §ZZZ l. See attached

documents filed in the Circuit Court of Cook County, lllinois.
2. Plaintif`f brings this action pursuant to 42 U.S.C. § 1983 and lllinois common law.
Plaintiff alleges that the defendants falsely arrested, conspired to falsely arrest, assaulted, battered

and failed to obtain medical attention for the plaintiff in violation of his rights under the fourth

 

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and fourteenth amendment of the United States Constitution and his rights under Iilinois law.

3. Defendant, Alonzo Cothran, is entitled to remove this action to this court, pursuant to
28 U.S.C. §§1441 and 1446.

4. lt appears from the face of plaintiffs Arnended Complaint that this is, in part, a civil
rights action which arises under the United States Constitution and involves a federal question
Plaintiffs complaint alleges, among other things, that the defendants violated the rights of the
plaintiff as guaranteed by the United States Constitution.

5. Defendarit City of Chicago has no objetion to the filing of this motion.

WHEREFORE, defendant Alonzo Cothran respectfully reduest that the above-entitled
action now pending in the Circuit Court of Cook County in the State of Illinois, case number 06
L 7505, be removed therefrom to this Court.

Respectfully submitted,

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M hew R. Had `

Assistant Corporation Counsel

30 N. La Salle St., Suite 1400
Chicago, IL 60602

(312) 742-9586

Atty. No. 06284330

 

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lonathon Banks, a minor, )
by Shonnette Banks, his mother )
and next friend, )
)
Plaintiff`, )

v. ) Na. ca t. 007505
. )
City of Chicago, a municipal corporation, )
Dcpartment of Police, and Polioe Officer )
Alonzo Cotht‘an, Star #2721, }
)
befendants. )

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Now comes the Plaintiff, Jonathon Banks, a minor, by Shonnette Banics, his moth=tl:ci and
next friend, by and through his attorneys, Steinberg, Burtlter dc Grossman, Ltd., and for Count l
of his Amended Complaint at Law against the Defendants, City of Chicago, a municipal '
corporation, Department of Police, and Police {)fficer Alonzo Cothran, Star #2721, alleges and
states as follows: -

l. That at all times pertinent hereto, Plaintiff Jonathon Banks was a minor, age 14
years, was a citizen and resident of the City of Chicago, residing with his mother, Shonnette
Banks at 3423 West Douglas Boulevard, County of Cook, State of lllinois.

2. Defendant City of Chicago is a municipal corporation located in the County of
Coolt, State of lllinois. lt includes the Chicago Police Departrnent, which employs police officers
and other-personnel including _Pol_ico Officer Defendant Alonzo Cothran, Star #2721.

3. That on or about Jun'e 28,_2005, Plaintiff Jonathon Baults was taken from the_area
of the front of his residence by several-uniformed members _of the Chicago Police Departrn_ent,
including C)fficer Alonso Cothran, Star#_2721.. He was placed in a squad car and driven-to a '.
nearby alley. ` ' - *` `

4. That at all times herein Chicago Po.lice Officer Alonzo Cothran, Star #2721 was
an employee of the Ci_ty of Chicago acting as its agent. l

5. That while removing Plaintiff from the squad car, Chicago Police Officer Alonzo
Cothran, Star #2721 made physical contact with Plaintiff. `

151 That thc Defendants, and each of them named herein, by and through their
agents, servants and employees, committed one or more of the following-wrongful acts or
omissions: -

a. Made physical contact with the minor Plaintiff;
b. Failed to properly train, supervise and_instruct

 

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Chicago Police Officer Alonzo Cothran, Star #2721

in proper procedures;
c. Failed to care for the safety of the Plaintiff.
7. That as a direct and proximate result of one or more of the above wrongful acts

or omissions to act, the minor Plaintiti`, Jonathon Banlcs was caused to be injured

S. That as a further direct and proximate result of the above and foregoing actions
on the part of the Defendants, and each of them, Plaintiff lonathon Banks suffered injuries, and
he was caused to incur medical expenses

WHE.REFORE, Plaintiff prays judgment in his favor and against the Defendants, and
each of them1 in an amount in excess of the minimal jurisdictional a mount of this Court.

   

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blow comes the Plaintiff, Jonathon Banks, a minor, by Shonnette-Ba-nks,- his mother and
next friend, by and through his attomeys, Ste_inberg, Burtker dc Grossman, Ltd., and for Count ll
of his Arnended Complaint at Law against Defendant Chicago Police Officer Alonzo Cothran,
Star #2721, alleges and states as follows:

ll This action arises under the Constitution of the United States, Amendment 13,
and Title 42, Section 1982 of the United States Code Annotated.

2. That at all times pertinent hereto, Plaintiff lonathon Ba_nks was a minor, age 14
years, was a citizen and resident of the City of Chicago, residing with. his mother, Shonnette
Banlcs at 3423 West Douglas Boulevard, County of Coolt`, State of lllinoi`s.

3. The City of Chicago is a municipal corporation located in theiCounty of Cook,
State of Illinois. lt includes the Chicago Police Departrnent, which employs police officers and
other personnel including Police Officer Alonzo Cothran, Star #2?21. '

_ 4. That on or about June 28, 2006, Plaintiff lonathon Banlcs was taken from the area
of the front of his residence by Chicago Police foicer Alonzo Cothran, Star #2721.

5. That at said time and place, Chicago Police Ofticer A'lon`ao Cothran, Star #2721
blindrol_dsd animus plsssa`hsa in the back ar s marked day ar-chicagp, nsparanent_cr ratios
“blue and white" marked vehicle He was taken to an area, upon information and belief, in the
alley of 1500 South Sawyer,-Chicago, fliinois, at which time 'Chicago' Police Officer Alonao
Cothran, Star #2721 began to strike, beat, kick, and verbally assault said Plaintiff.

6. At the conclusion of the events referenced in number 5 above, Chicago Police
Ofiicer Alon`zo Cothran, Star #2721 advised the minor Plaintiffto run or he would “shoot him”.

7. That as a direct result of the physical force inflicted upon the minor Plaintiff, he
sustained injuries internal and extemai, incurred ~-medical and hospital expenses suffered great
pain and was otherwise permanently injured, all to his damage in a sum in excess of the minimal
jurisdictional amount of this Cou.rt.

 

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8. That all `of the foregoing actions of Chicago Police Officer Alonzo Cothran, Star
#2721 were wrongful and constituted direct violation of Plaintiff' s constitutional rights
gusmtssti by ths 4‘ ssa 14“‘ statstimssts ts this united ststss constitution ssa 42 Usc isss.

9. That the actions of Chicago Police Officer Alonzo Cothran, Star_ #2'721 were
performed under color of state law. '

WHEREFORE, Plainti_ff prays judgment in his favor and against Chicago Police Ofticer
Alonao Cothran, Star #2721 in.an amount in excess of the minimal jurisdictional amount of this
Court in addition to attomey"s fees and costs.

CO ll - Ass ult Batt

Now comes the Plai_ntiff, Jonathon Banks, a minor, by Shonnette Banlcs, his mother and
insist friend, by stid'ihrsssh`_=his sacraeva$tstsg¢ts; strikers crossman aids and-'tct.i;fount'-Itt

of his littmendc'd'."C!ornplaintat Law tagainst_D‘efendants City` of"Chicago and`Chieago_ Police

Ofticer Alonao Cothran, Star #2721, alleges and states as follows: '

1»6. Plaintiff adopts and realleges paragraphs l through 6 of Countl as paragraphs l
through 6 of Count lII as though fully set forth herein.

7. Defendant _Chicago Police officer Aionzo Cothran, Star #2721 has individually,
and as agent for the Defendant City of Chicago, inflicted battery upon the Plaintiff.

8. Defendant Chicago Police Officer Alonzo Cothran, Star #2721's conduct as
aforesaid resulted in both physical and emotional injuries to the minor Plaintiff.

WHEREFGRE, Plaintiff prays judgment in his favor and against Defendants City` of
Chicago and Chicago Folice Ofticer Alonao Cothran, Star .- `n an amount in excess of the
minimal jurisdictional amount of this Ceurt. `

 
 
  

 

Richard .l. Grossman, Esq.
'Steinberg, Burtltet tit Grossman, Ltd.
' 55 East M`onroe Street; Suite 2920
` Chicago, Illinois 60603
(3 12) 726 -4444 `

Attorney I.D. #09624 '

 

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L§ERTIFICATE OF SERVICE
l hereby certify that l have caused a true and correct copy of the above and foregoing
HQIIQE_QF_E[L_I.N§ and NQTIQE QF REM(]YAL to be mailed to the person in the
foregoing Notice at the address therein shown, on this Novernber l, 2007.
Richard J. Grossman, Esq.
Steinberg, Burtker & Grossman, Ltd.

55 E. Monroe St., Suite 2920
Chicago, IL 60603

M§tthew R. Hader §

